Case 1:19-cv-24469-KMW Document 1-1 Entered on FLSD Docket 10/29/2019 Page 1 of 1
JS44 (Rev. 06/17) FLSD Revised 06/01/2017 CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of podings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose
of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.

I. (a) PLAINTIFFS Roberto DE OLIVEIRA VASQUES et al. DEFENDANTS Michael R. POMPEO, U.S. Secretary of State et al.
(b) County of Residence of First Listed Plaintiff Miami-Dade County of Residence of First Listed Defendant
(EXCEPT IN U.S. PLAINTIFF CASES) (IN US. PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF

THE TRACT OF LAND INVOLVED.
(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (if Known)

Kristin Figueroa-Contreras, Esq., Figueroa-Contreras Law Group,
PLLC, 2030 S Douglas Rd #204 Coral Gables FL 33134, 305-639-8599

(d) Check County Where Action Arose: @f MiAM-pADE 1 MonRoE OF BRowARD OPALMBEACH O MARTIN OST.LUCIE DIUINDIANRIVER DO OKEECHOBEE O HIGHLANDS

 

 

Il. BASIS OF JURISDICTION = (Place an “X” in One Box Only) I. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “Xx” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O11! US. Government o3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State o1 0D 1 Incorporated or Principal Place O4 O84
of Business In This State
¥1 2 US. Government o4 Diversity Citizen of Another State O02 [D 2 Incorporated and Principal Place Os O35
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a O3 OF 3. Foreign Nation Oe 06
Foreign Country
IV. NATURE OF SUIT (Ptace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
(110 Insurance PERSONAL INJURY PERSONAL INJURY [1 625 Drug Related Seizure (0 422 Appeal 28 USC 158 (0 375 False Claims Act
(120 Marine (310 Airplane 1 365 Personal Injury - of Property 21 USC 881 [423 Withdrawal 0 376 Qui Tam 31 USC
(1130 Miller Act (315 Airplane Product Product Liability 0 690 Other 28 USC 157 3729 (a))
(140 Negotiable Instrument Liability CO 367 Health Care/ 1 400 State Reapportionment
(1150 Recovery of Overpayment [[] 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 01 410 Antitrust
& Enforcement of Judgment Slander Personal Injury (820 Copyrights 0 430 Banks and Banking
(1151 Medicare Act (1330 Federal Employers’ Product Liability (830 Patent . 0 450 Commerce
(1152 Recovery of Defaulted Liability (CO 368 Asbestos Personal OR oe moe (CO 460 Deportation
Student Loans D340 Marine Injury Product (840 Trademark 0 470 Racketeer Influenced and
(Excl. Veterans) (345 Marine Product Liability LABOR SOCIAL SECURITY Corrupt Organizations
(1153 Recovery of Overpayment Liability PERSONAL PROPERTY [] 710 Fair Labor Standards (861 HIA (13958) (1) 480 Consumer Credit
of Veteran’s Benefits (350 Motor Vehicle (0 370 Other Fraud Act (0 862 Black Lung (923) 0 490 Cable/Sat TV
(160 Stockholders’ Suits (355 Motor Vehicle 0 371 Truth in Lending O 720 Labor/Mgmt. Relations (1863 DIWC/DIWW (405(2)) (] 850 Securities/Commodities/
(190 Other Contract Product Liability 0 380 Other Personal 0 740 Railway Labor Act (CO 864 SSID Title XVI Exchange
195 Contract Product Liabilit 360 Other Personal Property Damage 751 Family and Medica 5 1 (405(2)) 890 Other Statutory Actions
oO y O perty gi oO Family Medical (1865 RSI (405(g oO ry
(1196 Franchise Injury 1 385 Property Damage Leave Act OO 891 Agricultural Acts
(1 362 Personal Injury - Product Liability 1 790 Other Labor Litigation 0 893 Environmental Matters
Med. Malpractice 0 791 Empl. Ret. Inc. 0 895 Freedom of Information
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS Security Act FEDERAL TAX SUITS Act
(J 210 Land Condemnation (440 Other Civil Rights Habeas Corpus: (1870 Taxes (U.S. Plaintiff (CD 896 Arbitration
0 220 Foreclosure 0441 Voting OO 463 Alien Detainee or Defendant) (0 899 Administrative Procedure
(1 230 Rent Lease & Ejectment [1] 442 Employment Oo 210 Motions 16) "Vacate O a Ake, thie Party 26 Act/Review or Appeal of
1 240 Torts to Land oO eo ey Other: Agency Decision
(0 245 Tort Product Liability (1445 Amer. w/Disabilities - [] 530 General IMMIGRATION DF) 28 Consaunonalibsof stale
290 All Other Real Property Employment 535 Death Penalty 462 Naturalization Application
oO O oO
0 446 Amer. w/Disabilities - ] 540 Mandamus & Other [] 465 Other Immigration
Other DD 550 Civil Rights Actions
(448 Education C1 $55 Prison Condition
560 Civil Detainee —
0 Conditions of
Confinement
V. ORIGIN (Place an “XN” in One Box Only) Oo
igi “move file eins Transferred from 6 Mulltidistrict " kg
1 Pregueding 7 Remstre 3 ery Ol * Geinstated C1 another district Litigation .? apes C1 ® muniaistri [9 Remanded from
Court below) Reopened (specify) Transfer District Judge Litigation Appellate Court
from Magistrate ~_ Direct
Judgment File
VI. RELATED/ (See instructions): a) Re-filed Case WAYES ONO b) Related Cases OYES oO NO
RE-FILED CASE(S) JUDGE: n/a DOCKET NUMBER: !:19-cv-22147

 

Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (De not cite jurisdictional statutes untess diversity):

VII. CAUSE OF ACTION 28 USC 1361, 2412, 2201, 5 USC 555(b), 701 et seq. / Plaintiffs' immigrant visa applications delayed 22 months
LENGTH OF TRIAL via ! days estimated (for both sides to try entire case)

VII. REQUESTED IN (y CHECK IF THIS IS A CLASS ACTION

COMPLAINT: UNDER FRCP. 23 DEMAND $ CHECK YES only if demanded in complaint:

JURY DEMAND: vw] Yes C1No
ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY
DA NA
October 29, 2019

 
 

 

FOR OFFICE USE ONLY
JUDGE -

RECEIPT # AMOUNT IFP MAG JUDGE
